              Case 2:21-cv-00078-O-BR Document 62 Filed 08/23/22                                                             Page 1 of 1 PageID 446
✎AO 187 (Rev. 7/87) Exhibit and Witness List


                                                 UNITED STATES DISTRICT COURT
                             NORTHERN                                                 DISTRICT OF                                         TEXAS



                   MANUEL DIMAS GUERRA
                                                                                                                 EXHIBIT AND WITNESS LIST
                                        V.
               UNITED STATES OF AMERICA                                                                                Case Number: 2:21-CV-078-O-BR

PRESIDING JUDGE                                                    PLAINTIFF’S ATTORNEY                                      DEFENDANT’S ATTORNEY
 U.S. Magistrate Judge Lee Ann Reno                                 Eric Scott Coats-FPD                                      Ryan Patrick Niedermair-DOJ
TRIAL DATE (S)                                                     COURT REPORTER                                            COURTROOM DEPUTY
 8/22/2022 - 8/23/2022                                              Mechelle Daniel                                           Christopher Kordes
 PLF.      DEF.         DATE
                                       MARKED ADMITTED                                                   DESCRIPTION OF EXHIBITS* AND WITNESSES
 NO.       NO.        OFFERED

   X                  8/22/2022                                     Ronald Spriggs

   X                  8/22/2022                                     Robert Bell

   X                  8/22/2022                                     Anthony Gonzalez

   X                  8/23/2022                                     Manuel Dimas Guerra

  18                  8/23/2022           Yes           Yes         Pattern Jury Instructions

  24                  8/22/2022           Yes            No         Texas Rule of Criminal Evidence 503

  26                  8/22/2022           Yes           Yes         Letter from Spriggs to Guerra

  38                  8/22/2022           Yes           Yes         Brief of Appellant

  39                  8/22/2022           Yes           Yes         Reply Brief of Appellant

  40                  8/22/2022           Yes           Yes         Opinion (Fifth Circuit, No. 18-11407)

             7        8/22/2022           Yes           Yes         June 18, 2021, Letter from Guerra to Spriggs




* Include a notation as to the location of any exhibit not held with the case file or not available because of size.

                                                                                                                                     Page 1 of    1   Pages


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